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                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

                                                  :
RUTGERS CASUALTY INSURANCE                        : Case No. 1:11-cv-00462
COMPANY, individually and on behalf of all        :
others similarly situated,                        : U.S. District Judge Edmond E. Chang
                                                  :
                                    Plaintiff,    :
                                                  :
              v.                                  :
                                                  :
JOHN P. CALAMOS, SR., Trustee of the              :
Calamos Convertible and High Income Fund,         :
NICK P. CALAMOS, former Trustee of the            :
Calamos Convertible and High Income Fund,         :
WESTON W. MARSH, Trustee of the Calamos           :
Convertible and High Income Fund,                 :
JOE F. HANAUER, former Trustee of the             :
Calamos Convertible and High Income Fund,         :
JOHN E. NEAL, Trustee of the Calamos              :
Convertible and High Income Fund,                 :
WILLIAM R. RYBAK, Trustee of the Calamos          :
Convertible and HighIncome Fund,                  :
STEPHEN B. TIMBERS, Trustee of the                :
Calamos Convertible and High Income Fund,         :
DAVID D. TRIPPLE, Trustee of the Calamos          :
Convertible and High Income Fund,                 :
CALAMOS ADVISORS, LLC, an investment              :
advisor and Delaware limited liability company,   :
CALAMOS ASSET MANAGEMENT, INC, a                  :
Delaware corporation and publicly held holding    :
company, CALAMOS CONVERTIBLE AND                  :
HIGH INCOME FUND, and JOHN AND JANE               :
DOES 1-100,                                       :
                                                  :
                                    Defendants.   :
                                                  :


      PLAINTIFF’S MEMORANDUM IN SUPPORT OF MOTION FOR REMAND
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                                             I.        INTRODUCTION

           This action is brought on behalf of Plaintiff Rutgers Casualty Insurance Company

(“Plaintiff”), and all others who were beneficial owners of common shares of the Calamos

Convertible and High Income Fund (the “Fund”) at any time from March 19, 2008 to the

present.1       In addition to the issuance of common stock, the Fund also issued auction rate

preferred securities (“ARPS”), which were a valuable and highly liquid source of financing for

the Fund that greatly benefited the common shareholders.

           The Complaint alleges that, despite the significant advantages provided by the ARPS as a

source of financing for the Fund, the Defendants caused the Fund to partially redeem

approximately 81% of the outstanding ARPS during the liquidity crisis of 2008, and replaced

them with other, less favorable financing.2

           The Complaint alleges three causes of action against the Defendants – breach of fiduciary

duty, aiding and abetting breach of fiduciary duty, and unjust enrichment. Specifically, the

Complaint alleges that Defendants breached their fiduciary duties to the common shareholders

because they caused the redemption of the ARPS to further their own economic self-interests,

and those of the Fund’s investment adviser and its affiliates, as well as to benefit the ARPS

shareholders, to the detriment of the common shareholders, thereby favoring one class of

shareholders over another in breach of their fiduciary duties.

           Defendants’ purported basis for removal is the Securities Litigation Uniform Standards

Act of 1998, 15 U.S.C. §§ 77p and 78bb (“SLUSA”), which, as discussed further herein,

1
    Plaintiff acquired its shares of the Fund in 2003. Cpt. ¶ 6.
2
 Plaintiff filed this action in Cook County Circuit Court on December 22, 2010. Defendants removed this action on
January 21, 2011 pursuant to SLUSA, 15 U.S.C. §§ 77p and 78bb. A copy of Plaintiff’s Complaint is attached
hereto as Exhibit A.


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precludes certain class actions that allege “an untrue statement or omission of a material fact in

connection with the sale or purchase of a covered security.”      Here, however, the Complaint

alleges classic common law claims of breach of fiduciary duty, aiding and abetting breach of

fiduciary duty, and unjust enrichment, which belong in state court.

       The Complaint neither alleges fraud nor does it sound in fraud. Indeed, the Complaint

never makes any allegation of “fraud,” “misrepresentation” or “omission,” or anything similar.

Defendants’ attempt to remove this case to federal court on purported SLUSA grounds is

therefore inappropriate. Indeed, Defendants’ arguments are based on a complete distortion and

mischaracterization of Plaintiff’s claims, and improperly attempt to supplant the state court’s

jurisdiction over this case.   Accordingly, Plaintiff respectfully requests that the action be

remanded.

                                          ARGUMENT

       A. SLUSA Does Not Apply To This Action Because The Complaint Does Not Allege
          Any “Untrue Statements or Omissions of Material Fact.”

       SLUSA requires that the following four conditions be met before an action is removed to

federal court: (i) the suit is a “covered class action;” (ii) based upon state law or common law;

iii) the action involves a “covered security” and; (iv) the action alleges “an untrue statement or

omission of a material fact in connection with the sale or purchase of a covered security.”

15 U.S.C. § 77p(b), 78bb(f).

       As demonstrated below, the fourth requirement - that the action alleges “untrue

statements or omissions” - clearly is not present. Therefore, SLUSA does not apply and this

action must be remanded to state court.

       As an initial matter, the Complaint affirmatively alleges that it does not contain any

allegations based on misstatements or omissions:

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        Plaintiff does not assert any claim arising from a misstatement or omission in connection
        with the purchase or sale of a security, nor does Plaintiff allege that Defendants engaged
        in fraud in connection with the purchase or sale of a security.

        Cpt. ¶ 5.

        Defendants neglect to mention this determinative paragraph of the Complaint. Instead, to

support their contention that SLUSA applies here, Defendants recite various allegations

contained in the Complaint, and assert, in conclusory fashion, that they are allegations of

“misrepresentations or omissions of material fact” in connection with the purchase or sale of

covered securities. (Defs’ Notice of Removal at 4-5). As detailed below, even a cursory review

of the cited passages reveals the frivolous nature of Defendants’ arguments, as they plainly do

not allege any misrepresentations or falsities by the Defendants:

        1.     Complaint ¶ 11, which alleges that “Fund’s stated primary investment objective is

to provide total return through ‘a combination of capital appreciation and current income.’”

        This allegation is simply a statement of fact as to the Fund’s primary investment

objective as set forth in its SEC reports. Nowhere in the Complaint does Plaintiff allege that this

is untrue.

        2.     Complaint ¶¶ 2, 13-14, which allege that materials filed by the Fund with the SEC

described financial leverage as “a key aspect of the Fund’s performance;” that the “Ability to Put

Leverage to Work” was “advertis[ed] as a ‘Potential Advantage of Closed-End Fund Investing;’

that the “effect of this leverage was reflected in the Fund’s regular cash distributions to common

shareholders and described in the Fund’s regular reports to its shareholders;” that to achieve

financial leverage “the Fund issued auction rate preferred shares (“ARPS”), “which provided

“advantageous and very favorable financing”’ for the Fund; and that “the holders of its common




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stock could realize, as one of the significant benefits of this investment, leverage that would

continue indefinitely, since the ARPS were perpetual.”

       All of these allegations pertain simply to statements of information made publicly by the

Fund concerning its financial leverage and its use of ARPS, and additional information regarding

the benefits of the ARPS as a source of financing. The Complaint does not allege that any of

these statements are untrue. To the contrary, it alleges that these statements were true when they

were made.

       3.      Complaint ¶ 19-20, 25, 26, which allege that the Defendants caused the Fund to

redeem some of the ARPS during the financial crisis in order to provide liquidity to the ARPS

holders and to further their own economic self-interests.

       These allegations pertain to the freeze-up in the auction rate securities market in 2008,

and Defendants’ actions taken in response to the liquidity crisis and ensuing demands by ARPS

that the Fund redeem their shares. These allegations, too, are factual assertions regarding the

actions undertaken by the Defendants in breach of their fiduciary duties to the Fund and its

common shareholders, in order to further their own self-interest.       These assertions do not

implicate any alleged misrepresentations or false statements by the Defendants.

       4.      Complaint ¶¶ 3, 25, 27, 29, 30 and 35, which allege that in order to fund the

ARPS’ redemption, the Defendants replaced the ARPS with financing that was “less favorable

and “less advantageous” for the common shareholders than the ARPS, and that “the redemptions

by the Fund of the ARPS damaged the Fund’s common stockholders by denying them the

financial benefits associated with the ARPS.”

       These are simply additional factual allegations concerning the damage common

shareholders suffered as a result of Defendants’ breach of fiduciary duty (i.e., financing for the


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Fund that was significantly less advantageous).          These paragraphs do not allege any

misstatement or omission.

       Moreover, nothing in the Complaint in any way ties any misstatement, omission or

manipulation to the purchase or sale of a security. Plaintiff has owned shares of the Fund since

2003, and the definition of the putative Class is based on the beneficial ownership of common

shares on or after March 19, 2008, without regard to the date on which the shares were acquired.

This is a case concerning the breach by trustees of their duties to common shareholders; it does

not involve claims that those shareholders were misled when they acquired their shares.

       B.      Plaintiff’s Claims are Excluded from Federal Jurisdiction under the Class
               Action Fairness Act of 2005 (“CAFA”).

       Defendants note that Plaintiff’s complaint does not fall under any exceptions to SLUSA

because it is not “exclusively derivative” in nature. (Defs’ Notice of Removal at 6).

       However, claims such as those asserted here are specifically excluded from the federal

diversity jurisdiction under the Class Action Fairness Act of 2005 (“CAFA”), Pub.L. No. 109-2,

119 Stat. 4 (codified in scattered sections of 28 U.S.C.), by 28 U.S.C. § 1332 (d)(9), which

excludes from CAFA’s grant of federal jurisdiction state law claims concerning corporate

governance or claims relating to fiduciary duties related to or created by a security. Accordingly,

this matter must be remanded. See 15 U.S.C. § 78bb(f)(3)(D).




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II.     CONCLUSION

        For the reasons discussed above, Plaintiff respectfully requests that the Court remand this

action to state court.

Dated: February 22, 2011                             POMERANTZ HAUDEK
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                               CERTIFICATE OF SERVICE

       I, Patrick V. Dahlstrom, hereby certify that on February 22, 2011, I caused to be filed the

foregoing with the Clerk of the Court using the CM/ECF system, which sent notification of such

filing to all counsel of record in this matter who are registered with the Court’s ECF filing

system.


                                                    /s/ Patrick V. Dahlstrom
